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ARSHAK BARTOUMIAN, ESQ. (SBN 210370)
OMNIA LEGAL, INC

l24 W STOCKER ST STE B

GLENDALE, CA 91202

TEL. 818-532-9339

EMAIL: DISPUT S@OMNIALEGAL.ORG
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Attoré!;ey §r;?l’lalntf ff Arthur Martikyan

§ UNITED STATES DISTRICT COURT
§ CENTRAL DISTRICT OF CALIFORNIA

  

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ARTIYR MA§TIK f N, an individual,
N

w f COMPLAINT FOR DAMAGES
PLAlNTIFF, l

vs.
NORTH AMERICAN COLLECTORS, INC A
California Corporation

DEFENDANT.

 

 

Now comes the Plaintiff, Arthur Martikyan, (hereinafter “Plaintiff’) through his attorney
on record Arshak Bartoumian brings this Complaint against NORTH AMERICAN
COLLECTORS, INC (hereinafter “Defendant”), for violations of F air Debt Collection Practices
Act [15 U.S.C. §l692-l692p] (“FDCPA”), California’s Rosenthal Fair Debt Collection Practices
Act [California Civil Code §1788 et Seq.] (“RFDCPA”), Fair Credit Reporting Act [15 U.S.C.
§l681 et seq.] (“FCRA”), California’s Consumer Credit Reporting Agencies Act [California
Civil Code §1785.2 et seq.] (“CCRAA”), and for defamation by libel and invasion of

privacy/false light, alleging as follows:

PRELIMINARY STATEMENT

l. The FDCPA regulates the behavior of collection agencies attempting to collect a
debt on behalf of another. The United States Congress has found abundant evidence

of the use of abusive, deceptive, and unfair debt collection practices by many debt

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collectors, and has determined that abusive debt collection practices contribute to a
number of personal bankruptcies, marital instability, loss of jobs, and invasions of
individual privacy. Congress enacted the FDCPA to eliminate abusive debt
collection practices by debt collectors, to ensure that those debt collectors who
refrain from using abusive debt collection practices are not competitively
disadvantaged, and to promote uniform State action to protect consumers against

debt collection abuses [15 U.S.C. §l692(a)-(e)].

2. The FDCPA is a strict liability statute, which provides for actual or statutory
damages upon the showing of one violation. The Ninth Circuit has held that whether
a debt collector’s conduct violates the FDCPA should be judged from the standpoint
of the “least sophisticated” consumer. [Baker v. G.C. Services Corp., 677 F.2d 775,
778 (9th Cir. 1982); Swanson v. Southern Oregon Credit Service, Inc. 869 F.2d 1222,
1227(9th Cir.l988)]. This objective standard “ensure[s] that the FDCPA protects all
consumers, the gullible as well as the shrer the ignorant, the unthinking and the
credulous.” [Clomon v. Jackson, 988 F.2d 1314, 1318-19 (Z“d Cir. 1993)].

3. To prohibit deceptive practices the FDCPA, at 15 U.S.C. §l692e, outlaws the use of
false, deceptive, and misleading collection letters and names a non-exhaustive list of
certain per se violations of false and deceptive collection conduct. 15 U.S.C.
§l692e(1)-(l6). To prohibit harassment and abuses by debt collectors, the FDCPA,
at 15 U.S.C. §l692d, further provides that a debt collector may not engage in any
conduct the natural consequence of which is to harass, oppress, or abuse any person
in connection With the collection of a debt and names a non-exhaustive list of certain

per se violations of harassing and abusive collection conduct 15 U.S.C. §l692d(l)-

(6)-

4. The FDCPA also prohibits, at 15 U.S.C. §1692c, without the prior consent of the
consumer given directly to the debt collector, or the express permission of a court of
competent jurisdiction, or as reasonably necessary to effectuate a post judgment
judicial remedy, communication by a debt collector in connection with the collection
of any debt, with any person other than the consumer, his attorney, a consumer

reporting agency if otherwise permitted by law, the creditor, the attorney of the

COMPLAINT FOR DAMAGES- 2

 

 

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creditor, or the attorney of the debt collector.

The RFDCPA regulates collection agencies and original creditors attempting to
collect debts on their own behalf. The California legislature has determines that the
banking and credit system and grantors of credit to consumers are dependent upon
the collection of just and owing debts and that unfair or deceptive collection
practices undermine the public confidence that is essential to the continued
functioning of the banking and credit system and sound extensions of credit to
consumers. The Legislature has further determined that there is a need to ensure that
debt collectors exercise their responsibility with fairness, honesty, and due regard for
the debtor’s rights and that debt collectors must be prohibited from engaging in

unfair or deceptive acts or practices.

Congress enacted the FCRA to establish consumer rights to privacy over their credit
and financial information and to ensure the "[a]ccuracy and fairness of credit
reporting." FCRA provides several protections for eonsumers, including but not
limited to the right to be notified of any negative/unfavorable information reported in
their name and the right to dispute inaccurate, outdated, incomplete or otherwise
unfairly reported information on their credit file.

The FCRA, under CONGRESSIONAL FINDINGS AND STATEMENT OR PURPOSE,
15 U.S.C. §l681(a)(4) reads in relevant part;
“T here is a need to insure that consumer credit reporting agencies exercise their grave
responsibilities with fairness, impartiality and a respect for the consumer’s right to
privacy. ” (Emphasis added.)
The FCRA, under CONGRESSIONAL FINDINGS AND STATEMENT OF PRUPOSE,
15 U.S.C. §l681(b) reads in relevant part;
“Reasonable procedures lt is the purpose of this title to require that consumer reporting
agencies adopt reasonable procedures for meeting the needs of commerce for consumer
credit, personnel, insurance, and other information in a manner which is fair and
equitable to the consumer with regard to the confidentiality, accuracy, relevancy, ana
proper utilization of such information in accordance with the requirements of this title.”

(Emphasis added.)

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The statute governing “permissible purposes of consumer reports,” FCRA 15 U.S.C.
§1681b, provides in pertinent part;
“(a) In general Subject to subsection (c) of this section, any consumer reporting agency
may furnish a consumer report under the following circumstances and no other:’
(Emphasis added.)

Thus, the strictly limited provisions set forth in section 1681b operate to support the

confidentiality of consumer reports by limiting their dissemination

14. FCRA regulates credit reporting agencies as well as creditors, collection
agencies and other parties Who provide information to credit reporting agencies
and/or obtain and use the consumer credit reports. FCRA Section 604, 15 U.S.C.
§1681b, identifies the permissible purposes allowed under the act for conducting

credit reviews on consumers

15. FCRA Sections 616 and 617, 15 U.S.C. §1681n and §16810, create private
right of action consumers can bring against violators of any provision of the FCRA
with regards to their credit. In DiMezza v. First USA Bank, Inc., supra, the court
confirmed that "[...] the plain language of [CRA Sections 616 and 617, 15 U.S.C.
§l681n and §16810] provide a private right of action for a consumer against
furnishers of information who have willfully or negligently failed to perform their
duties upon notice of a dispute. [...] there is a private right of action for consumers
to enforce the investigation and reporting duties imposed on furnishers of

information."

16. CCRAA was implemented to protect the credit information of California
consumers. CCRAA also regulates consumer credit reporting agencies and
furnishers of information with respect to personal, credit and other financial
information submitted and maintained in their credit file. CCRAA in California
Civil Code §1785.25-1785.26 refrains furnishers of information from reporting
information that they know or should have known was erroneous, and obligates
furnishers to cease credit reporting of information disputed by consumers without
notice of such dispute.

l7. Similar to FCRA Section 604, 15 U.S.C. §1681b, California Civil Code

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§1785.11 identifies the lawful reasons that would allow for a credit review on any
given consumer.

18. CCRAA provides consumers with the right to be informed of negative credit
reporting and the right to dispute information in their credit reports, which they
believe is incomplete and/or inaccurate. Consumers also have the right to bring civil
action against violators of any provision of the CCRAA with respect to their rights
and their credit, and to seek monetary damages California Civil Code §1785.19 and
§1785.31.

19. Sanai v. Saltz, et al., 2009 Cal. App. LEXIS 83 (Cal. App. 2d Dist. Jan. 26,
2009) established that consumers may replead their FCRA claims as violations of the
CCRAA and that the state claims are not preempted by FCRA. ln further support,
courts have uniformly rejected creditors’ and consumer reporting agencies’
arguments that the FCRA bars state law claims. See Sehl v. Safari Motor Coaches,
Inc., 2001 U.S. Dist. Lexis 12638 (U.S.D.C. N.D. Cal. 2001)(for detailed
discussion); Harper v. TRW, 881F. Supp. 294 (U.S.D.C. S.D. Mich. 1995); Rule v.
Ford Receivables, 36 F. Supp.2d 335 (U.S.D.C. S.D. Va. 1999); Watkins v. Trans
Union, 118 F. Supp.2d 1217 (U.S.D.C. N.D. Ala. 2000); Swecker v. Trans Union, 31
F. Supp.2d 536 (U.S.D.C. E.D. Va. 1998); Saia v. Universal Card Svc., 2000
U.S.Dist.Lexis 9494, 2000 Westlaw 863979 (U.S.D.C. E.D. La. 2000); Sherron v.
Private Issue by Discover, 977 F. Supp.2d 804 (U.S.D.C. N.D. Miss. 1997); Hughes
v. Fidelity Bank, 709 F. Supp.2d 639 (U.S.D.C. E.D. Pa. 1989).

JURSDICTION. VENUE. AND DEMAND FOR JURY TRIAL

Jurisdiction of this court arises pursuant to 15 U.S.C. §1962k(d), which states that such
actions may be brought and heard before "any appropriate United States district court
without regard to the amount in controversy." This Court also has jurisdiction of the

federal claims asserted pursuant to 28 U.S.C. §1331 and supplemental jurisdiction of the

state law claims asserted pursuant to 28 U.S.C. §1367(a).

Defendant regularly conducts business in the state of California, and therefore, personal

jurisdiction is established

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Venue is proper in this district pursuant to 28 U.S.C. §1391 because Defendant conducts
business in this district and many of the events occurred in this district. Further, Plaintiff

resides in this district.
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedures, Plaintiff hereby demands a
jury trial on any and all issues qualified for a jury trial.

PRIVATE RIGHT OF REMEDY

15 U.S.C §1692k(a) states that “... any debt collector who fails to comply with any
provision of this title with respect to any person is liable to such person in an amount
equal to the sum of-.”

Cal. Civ. Code §1788.30(a) states that “any debt collector who violates this title with
respect to any debtor shall be liable to that debtor only in an individual action. . .”

15 U.S.C. §1681n and §16810 refer to consumers’ ability to bring civil liability action
against users/furnishers of information for willful and negligent noncompliance
respectively, with regards to any provision of the FCRA.
Gorman v. MBNA America Bank, N.A., No. 06-1 7226 further established that consumers
are entitled to a Private Remedy against Furnishers for noncompliance with their
obligations enforced under FCRA §1681s-2(b).
California Civil Code §1785.15(f) states that consumers “have a right to bring civil action
against anyone [...], who improperly obtains access to a file, knowingly or willfully
misuses file data, or fails to correct inaccurate file data” concerning a consumer’s credit
report.
California Civil Code §1785.31(a) states that Plaintiff as “any consumer who suffers
damages as a result of a violation of this title by any person may bring an action in a

court of appropriate jurisdiction against that person to recover the following.”

PARTIES

Plaintiff is an individual, and at all times relevant herein, was a resident of Los Angeles

County, California.
Plaintiff is a consumer as defined in 15 U.S.C. §l681a (c) and California Civil Code

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§1785.3(b).

Defendant is a California Corporation.

Defendant regularly conducts business in the State of California.

Defendant is a debt collector as defined in 15 U.S.C. §1692a(6)and Cal. Civ. Code

§1788.2(c).
Defendant is person as defined in 15 U.S.C. §l681a (b) and California Civil Code

§1785.3@).

Whenever this complaint alleges that any defendant did any act or thing, it is meant that
it, it's directors, officers, agents, employees, or the directors, agents or employees of its
subsidiaries, performed or participated in such act or thing, and in each instance that such
act or thing was authorized or ratified by, and done on behalf of and under the direct

control of that defendant

Plaintiff is informed and believes and on that basis alleges that Defendant is
responsible for the acts, occurrences and transactions as officers, directors or
managing agents of Defendant or as its agents, servants, employees and/or joint
venturers and as set forth in this Complaint, and that each of them is legally liable to
Plaintiff, as set forth below and herein:
Said Officers, directors or managing agents of Defendant personally acted willfully
with respect to the matters alleged in this Complaint;
Said Officers, directors or managing agents of Defendant personally authorized,
approved of, adopted and/or ratified the acts alleged herein or the agents, servants,
employees and/or joint venturers of Defendant did so act;
Said Officers, directors or managing agents of Defendant personally participated in
the acts alleged herein of Defendant;
Said Officers, directors or managing agents of Defendant personally had close
supervision of their agents, servants, employees and/or joint venturers of Defendant;
Said Officers, directors or managing agents of Defendant personally were familiar

with the facts regarding the matters alleged herein;

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Said Officers, directors or managing agents of Defendant personally failed to
investigate the circumstances appertaining to the acts alleged herein. They also failed
and refused to repudiate the herein alleged actions and failed to redress the harm done
to Plaintiff. Further, said Officers, directors, or managing agents of Defendant failed
and refused to punish or discharged the said agents, servants, employees and/or joint
venturers of Defendant, even after learning of the acts of the agents, servants,
employees and/or joint venturers of Defendant.

Defendant is liable to Plaintiff for the relief prayed for in this Complaint, and any future

amended complaint Further, Plaintiff alleges that each act alleged herein, whether by a

named Defendant was expressly authorized or ratified.

FACTUAL ALLEGATIONS
Plaintiff who is not a minor alleges that the foregoing events, starting from date of

discover of the credit inquiry made by Defendant, which is the subject to this complaint,

occurred within the past one year.

In or around December 2, 2011 and December 6, 2011 Plaintiff obtained his credit bureau
reports from CRAs and was shocked to find that his personal financial and credits
information was pulled and reviewed by Defendant on July 13, 2011 without Plaintiffs
knowledge and authorization
Upon research and review of companies profiles available online, Plaintiff learned that
Defendant is a collection agency that is in the business of collecting consumer debts.
Upon information and belief, at some point Defendant must have tried to purchase debts
alleged to be owed by Plaintiff, considered purchasing debts alleged to be owed by
Plaintiff, or looked into Plaintiff’ s history as a potential debtor for overdue and
unsatisfied account balances to collect on. At no point prior to the credit reviews did
Plaintiff know of any such debts confirmed or alleged by Defendant to be the
responsibility of Plaintiff.
Defendant violated 15 U.S.C. §1681 by running credit inquiry into Plaintiff s consumer
credit reports maintained by and with one or more of the three major credit reporting

agencies, Experian, Equifax and Transunion (hereinaf`ter “CRAs”), without Plaintiff s

COMPLAINT FOR DAMAGES- 8

 

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knowledge and authorization, and without having permissible purpose for conducting a

credit review as defined under §l681b of the above cited title.

Specifically, on July 13, 2011 Defendant violated 15 U.S.C. § 1 681, by pulling Plaintiff’s

consumer credit report, without the knowledge or consent of Plaintiff. Plaintiff had not

requested reports from Defendant for purpose of extending credit, employment, insurance

underwriting, or any other purposes that are allowed under this section. Defendants’

credit reviews resulted in credit inquiries, which are reflecting on Plaintiff`s credit reports

until today.

At or about the time Defendant initiated the credit pulls of Plaintiff s consumer report:

a. Plaintiff did not authorize consumer reporting agency to furnish his consumer report
to Defendant.

b. Plaintiff did not authorize Defendant to obtain his consumer reports from consumer
reporting agencies

c. Plaintiff did not apply for any credit, loans or services with Defendant.

d. Plaintiff did not have any contractual relationship for credit, loans or services with
Defendant.

e. Plaintiff did not owe any debts to any of Defendant.

f. Plaintiff did now owe any debt as the result of a judgment to any of Defendant.
Plaintiff did not apply for any employment with Defendant.

Plaintiff did not apply for any insurance from Defendant.
i. Plaintiff did not have any existing account(s) within the meaning the Electronic Fund
Transfer Act (“EFTA”) §903(2), pursuant 15 U.S.C. §1681a(f)(4). “the term ‘accoum’

means a demand deposit, savings deposit, or other asset account (other than an occasional or incidental
credit balance in an ‘open end credit plan’ as defined in section 1602(i) of this title), as described in
regulations of the Board, established primarily for personal, family, or household purposes, but such
term does not include an account held by a financial institution pursuant to a bona fide trust
agreement.” (Emphasis added) “the terms ‘open end credit plan’ and ‘open end consumer credit plan’
mean a plan under which the creditor reasonably contemplates repeated transactions, which prescribes
the terms of such transactions, and which provides for a finance charge which may be computed from
time to time on the outstanding unpaid balance.” (Emphasis added) Or Credit Obligation With

Defendants.

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j. Plaintiff did not have any jurisdiction issued any order to credit reporting agencies to

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furnish Plaintiff’ s consumer report to Defendant.

k. No head of State or local child support enforcement agency requested credit reporting
agencies to provide Plaintiff’s consumer reports to Defendant.

l. No agency administering a State plan under Section 454 of the Social Security Act
(42 U.S.C. Section 654) requested credit reporting agencies to provide Plaintiff s
consumer report to Defendant.

m. Plaintiff did not apply for any license or other benefit granted by a government
instrumentality through Defendant.

n. Plaintiff did not receive any “firm offer of credit or insurance” from Defendant.

Defendants violated 15 U.S.C. §1681 by ignoring Plaintiff’ s written disputes and requests

for proof that the credit inquiry waw run for a purpose recognized by law.

Defendant conducted the above described credit review of Plaintiffs records without

communicating to him of any debts and confirming the validity of any such alleged debts,

even if such alleged debt did exist and were in their possession for collections.

On or about December 2, 2011 Plaintiff sent letter to each credit reporting agency,

addressing the unauthorized credit review and requesting deletion of the credit inquiry

from Plaintiffs credit files, unless Defendant could provide and support a justifiable
purpose for conducting the disputed credit review.

On or about December 28, 2011 Plaintiff sent letter to defendant requesting their

permissible purpose per FCRA.

Defendant failed to answer Plaintiffs request and failed to delete the credit inquiry to

avoid further damage to Plaintiff s credit records.

On or about January 31, 2012 and February 16, 2012 Plaintiff sent a follow up letters to

Defendant, addressing its failure to respond or take appropriate corrective action with

respect to Plaintiff’s initial of disputes and detailed of notice of all their violations.

To date, after multiple correspondences, Defendant still continues to maintain the record

of unauthorized credit inquiry on Plaintiff s credit records.

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14. As a result of Defendant’s conduct, Plaintiff has suffered:

a. Actual damages and serious financial harm arising from monetary losses relating to
denials to new credit, loss of use of funds, loss of credit and loan opportunities
excessive and/or elevated interest rate and finance charges;

b. Out of pocket expenses associated with communicating with Defendant, disputing the
unauthorized credit inquiry, as well as consultation fees paid to attorneys and other
professionals to obtain information and advice about consumer rights credit reporting
and use;

c. Emotional distress and mental anguish associated with having his credit information
unlawfully reviewed and having derogatory information transmitted about Plaintiff to
other people both known and unknown;

d. Decreased credit score and creditworthiness which may result in inability to obtain

credit, employment or housing on future attempts

FIRST CLAIM FOR RELIEF
(Violations of FDCPA)
15 . Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.
16. In committing the acts against Plaintiff as alleged above, Defendant subjected Plaintiff to

unfair debt collection practices Their violations include at least the following:

a) Failing to provide notice of debts to Plaintiff, complete with all required
disclosures per 15 U.S.C. §1692e (11).

b) Failing to provide written notices of Plaintiff’s right to verification and

information about their alleged debts, per 15 U.S.C. §1692g(a);

c) Using false representations and deceptive means to collect or attempt to collect an
alleged debts, in violations of 15 U.S.C. §1692e(10);
d) Using unfair and/or unconscionable means to collect an alleged debts, in violation

of15 U.S.C. §1692f;

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As a consequence of such violations, Plaintiff has sustained special and general damages
according to proof, in addition to attorney’s fees and costs as determined by the court
pursuant to 15 U.S.C. §1692k.

SECOND CLAIM FOR RELIEF
(Violations of RFDCPA)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.
ln committing the acts against Plaintiff as alleged above, Defendant subjected Plaintiff to
unfair debt collection practices Their violations include at least the following:
a) Using false representations and deceptive means to collect or attempt to

collect alleged debts, in violation of California Civil Code §1788.17;

b) Using unfair and/or unconscionable means to collect alleged debts, in
violation of California Civil Code §1788.17;

As a result of these violations of the California’s Fair Debt Collection Practices Act by
Defendants, Plaintiff has suffered general and special damages according to proof, and is
entitled to a statutory penalty for each separate violation of this Act, as well as punitive
damages against Defendant for conduct amounting to oppression and malice under
California law, pursuant to California Civil Code §1788.30. Additionally, Plaintiff is
entitled to attomey’s fees, costs and expenses under this law.

THIRD CLAIM FOR RELIEF
(Violations the FCRA)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

In committing the acts against Plaintiff as alleged above, Defendant subjected Plaintiff to

unfair credit reporting practices Their violations include at least the following:

a) Obtaining and reviewing Plaintiff’ s credit report from CRA’s without having

permissible purpose required under 15 U.S.C. §1681b.
Based on information and belief, the credit reviews and the credit inquiry was used as
collection tactics by Defendant with intent to obtain information and thereby unfair
advantage over Plaintiff and/or harm Plaintiff s good name and credit rating. Thus, the

credit review inquiries, while a clear violation of fair credit reporting laws, based on the

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circumstances of this case also constitute unlawful collection attempts under Federal and
State Fair Debt Collection Practices Acts The accusations stated in this cause of action
directly relate to the allegations asserted throughout this Complaint.

As a result of these unauthorized actions by the Defendant mentioned above, Plaintiff has
suffered damages and is entitled to actual damages, punitive damages as the court may
allow, as well as reasonable costs and attorney's fees pursuant to 15 U.S.C. §1681(n).

FOURTH CLAIM FOR RELIEF
(Violations of CCRAA)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

In committing the acts against Plaintiff as alleged above, Defendant subjected Plaintiff to

unfair credit reporting practices Their violations include at least the following:

a) Obtaining and reviewing Plaintiff’ s credit report from CRA’s without having

permissible purpose required under California Civil Code §1785.11.

As a result of these unauthorized actions by the Defendant mentioned above, Plaintiff has
suffered damages and is entitled to actual damages, punitive damages as the court may
allow, injunctive relief ordering deletion of the credit inquiry and refraining Defendant
from future credit review conducted on Plaintiff pursuant to Cal. Civ. Code §1785.3 1.

FIFTH CLAIM FOR RELIEF
(Defamation-Libel)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

The credit inquiry made by Defendant is defamatory because the general public and
credit grantors in particular, recognize collection agencies and presume that when a
collection agency pulls and reviews a consumer’s credit file, there must exist a valid
claim of debt owed by the consumer to such collection agency, regardless of the

circumstances under which the inquiry was made.

The credit inquiry create a presumption of delinquencies and an overall poor fiscal
responsibility, damaging Plaintiff’s credit rating and his ability to secure and utilize

credit and maintain good relationships with creditors

COMPLAINT FOR DAMAGES- 13

 

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The credit inquiry constitutes libel per se in that it clearly exposed, and continues to
expose, Plaintiff to ridicule and tend directly to injure him by portraying him as a

delinquent and a poor credit risk.

Plaintiff has been damaged by loss of reputation, shame, and embarrassment, as well

as having suffered severe emotional distress

Based on information and belief Plaintiff alleges that in doing the foregoing acts,
the Defendant acted in willful disregard for the consequences of their actions and
the effects on the Plaintiff and his credit, and did so intentionally and willfully, with

malice, and with the intent to injure and/or oppress Plaintiff.

SIXTH CLAIM FOR RELIEF
(Invasion of Privacy/False Light)
Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

 

Defendant’s above actions violated Plaintiff’ s right of privacy by impermissibly
accessing Plaintiffs most private information and placing the Plaintiff in a false light
before the eyes of others, including potential credit grantors and creditors as well as
family, friends and the general public.

By such unauthorized invasion, publication and circulation of Plaintiff s name and the
inaccurate information, Defendant invaded Plaintiff s right to privacy, subjected Plaintiff
to ridicule and contempt, injured Plaintiff" s personal esteem, reflected disgracefully on
Plaintiff’ s character, diminished Plaintiffs high standing, reputation and good name
among family, friends, neighbors and business associates destroyed Plaintiff s peace of
mind, and caused Plaintiff severe mental and emotional distress

The conducts of Defendant was a direct and proximate cause, as well as a substantial
factor, in bringing about the serious injuries, damages and harm to Plaintiff that are
outlined more fully above and, as a result, Defendant is liable to compensate the Plaintiff
for the full amount of actual, compensatory and punitive damages as well as such other

relief, permitted under the law.

COMPLAINT FOR DAMAGES~ 14

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PRAYER FOR RELIEF
38. Plaintiff incorporates all preceding paragraphs as though alleged in full in this cause of

action.

39. Plaintiff contends that the actions of the Defendant constituted willful violations of
the Fair Debt Collection Practices Act, Rosenthal Fair Debt Collection Practices
Act, Fair Credit Reporting Act and Consumer Credit Reporting Agencies Act.

40. A judicial declaration that the conduct of Defendant violated applicable statutes is

not just and appropriate

WHEREFORE, Plaintiff requests that judgment be entered in his favor against the
Defendant as follows:
l. Statutory Damages and/ or
Actual and General Damages sustained by Plaintiff in an amount to be proven at trial,
pursuant to California 15 U.S.C. § 1692k(a)(1) and/or California Civil Code
§1788.30(a), and 15 U.S.C. §1681n(a)(1) and (b).
2. Injunctive relief instructing Defendant to delete the unlawfully made credit inquiry
from Plaintiff’s credit reports
3. Costs and reasonable attomey’s fees, pursuant to 15 U.S.C. §1692k(a)(3) and/or
California Civil Code §1788.30(0), and 15 U.S.C. § l681n(a)(3) and (c).
4. Punitive damages pursuant to California Civil Code §1788.30(b) and 15 U.S.C.
§1681n(a)(2) as the court may allow,
5. Any other further damages this Honorable Court finds just and proper.

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Arshak Bartoumian, Attorney For Plaintiff

DATED:%FH,Q 27, 2012

 

COMPLAINT FOR DAMAGES- 15

 

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15.

activities:

Se 2:12-CV-

I, Arthur Martikyan, have suffered from the following due to, or made worse by, the

actions of the Defendant’s debt collection activities

. Alppetite and/or weight loss or overeating and weight gain
T
. Restlessness or irritability

14. Negative impact on my job

Other physical or emotional symptoms l believe are associated with abusive debt collection

O4160-UA-DUTY Document 1-1 Filed 05/14/12 Page 16 of 19 Page |D t

Sleeplessness

Fear of answering the telephone

Nervousness

Fear of answering the door

Embarrassment when speaking with family or friends
Depressions (sad, anxious, or “empty” moods)

Chest pains

Feelings of hopelessness, pessimism

Feelings of guilt, worthlessness, helplessness

oughts of death, suicide or suicide attempts
Headache, nausea, chronic pain or fatigue

Negative impact on my relationships

 

5218

 

 

 

 

 

 

 

 

 

 

 

Pursuant to 28 U.S.C. §1746(2), I hereby declare (or certify, verify or state) under penalty
of perjury that the foregoing is true and correct.

Dated:O//29/2012 /§L)’L/W!?ML/ /Wm€»/’?/;\, W

Signed Name

Arthur Martil_<yan
Printed Name

COMPLAINT FOR DAMAGES- 16

 

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VERIFICATION

I, Arthur Martikyan, am the Plaintiff in the above entitled action. l have read the foregoing
complaint. The facts stated herein are within my knowledge and are true and correct, except
those matters stated on information and belief, and, so to those, l believe them to be true and
correct. I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

Executed: Ap,.L,Q Q§ 2012 at Glendale, California.

 

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&./

Arthur Martikyan, PLAINTIFF

COMPLAINT FOR DAMAGES- 17

 

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\ UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
l (a) PLAINTIFFS (Check box if you are representing yourself lj) DEFENDANTS

ARTHUR MARTIKYAN NORTH AMERICAN COLLECTORS, INC

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same.)

ARSHAK BARTOUMIAN (SBN 210370) 818-532-9339

Attomeys (If Known)

 

 

124 W STOCKER ST STE B
GLENDALE, CA 91202
II. BASIS OF JURISD!CTION (Place an X in one box only.) IIl. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
E| 1 U.S. Govemment Plaintiff 53 Federal Question (U.S. PTF DEF PTF DEF
Govemment Not a Party) Citizen of This State 111 1 1_'.1 1 Incorporated or Principal Place 121 4 |Il 4
of Business in this State
El 2 U.S. Govemment Defendant 111 4 Diversity (Indicate Citizenship Citizen of Another State 111 2 111 2 Incorporated and Principal Place 121 5 C| 5
of Parties in Item IlI) of Business in Another State
Citizen or Subject of a Foreign Country 13 3 El 3 Foreign Nation [J 6 El 6

 

 

lV. ORIGlN (Place an X in one box only.)

l!( 1 original
Proceeding

Appellate Court

\`_'l 2 Removed from |:1 3 Remanded from |Il 4 Reinstated or
State Court

Reopened

E| 5 Transt`erred from another district (specify):

13 6 Multi- El 7 Appea| to District
District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAlNT: JURY DEMAND: \!{Yes 111 No (Check ‘Yes’ only if demanded in complaint.)
cLAss AchoN under F.R.c.i>. 23= i:) Yes i!{Ne

KMONEY DEMANDEI) IN coMPLAiNT: $ N<>f Y€f Asserted

 

VI. CAUSE OF ACT!ON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
VIOLATIONS OF 15 U.S.C. Section 1681, 15 U.S.C. Section 1692, Cal Civ. Code Section 1788, Cal. Civ. Code Section 1785, Defamation-Libel, Invasion of Privacy/false
VIl. NATURE OF SU!T (Place an X in one box only.)

 

 
 

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Insurance

   

 

 

   
 
   

   

 

   
 
  

 

 

  

 

    
  

 

 
   

  
   

   
 

   

 

 

 

 

 

 

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Rates/etc. El 150 Recovery of n 320 Assa“l" le°l & C| 380 Other Personal E| 530 General \:| 730 Labor/Mgmt.
111 460 Deportation Overpayment & m 330 ;l:"§" 1 , Property Damage 13 535 Death Penalty Reporting &
121 470 Ra§keteer Influenced Enforcement of L‘;al;“i;p °y°“ 111 385 Pro§erty Dal;nlage |:1 540 Mandamus/ Disclosure Act
an Corrupt Judgment , Pro uct Lia i i Other 111 740 Railway Labor Act
- - . El 340 Marine r . .
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12{480 Consumer Credit 111 152 Recovery of Defaulted Liabih.ty Appeal 28 USC nd on Litigation
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USC 3410 13 160 Stockholders’ Suits g 362 personal lnjury_ El 442 Employment 13 625 Drug Related 111 840 T ad k
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111 891 Agricultural Act 13 195 Contract Product 13 365 P¢rsonal Injury. mmodations Property 21 USC 111 861 HIA (13955)
121 892 Economic Stabilization Liability Pmduct Liabilicy 111 444 Welfare 881 121 862 Black Lung (923)
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FOR OFFICE USE ONLY: Case Number:

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-7l, COMPLETE THE lNFORMATlON REQUESTED BELOW.

 

CV-7l (05/08)

CIVIL COVER SHEET

Page l of 2

Case 2:12-cv-O4160-UA-DUTY Document 1-1 Filed 05/14/12 Page 19 of 19 Page |D #:21

` UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
crviL COVER snEET

VlIl(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? l!{No C| Yes
Ifyes, list case number(s):

 

VlII(b). RELATED CASES: Have any cases been previously tiled' in this court that are related to the present case? E{No 1`_'| Yes
Ifyes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) El A. Arise from the same or closely related transactions happenings or events; or
111 B. Call for determination of the same or substantially related or similar questions of law and fact; or
El C. For other reasons would entail substantial duplication of labor if heard by different judges; or
|Il D. Involve the same patent, trademark or copyright, an_cl one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County 1n this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides
13 Check here if the govemment, its agencies or employees 1s a named plaintiff If this box ls checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

VARIOUS
LOS ANGELES

 

 

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
1'_'1 Check here if the government its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

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LOS ANGELES

 

 

 

(c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation eases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

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* Los Angeles, Orange, San Bernardino, Riverslde, Ven -. a, Santa Barbara, or San Luis Oblspo Counties

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x. sIGNATuRJ-; 01= ATTORNEY (oR PRo PER); bare W29/2012

Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics venue and initiating the civil docket sheet. (I-`or more detailed instructions see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abhreviation Substantlve Statement of Cause of Actlon

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals skilled nursing facilities etc., for certification as providers of services under the
program. (42 U.S.C. l935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DlWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S.C. (g))

 

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